                                    UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF KENTUCKY
                                        OWENSBORO DIVISION

AMANDA WEST,

                    PLAINTIFF

v.                                                                     CIVIL ACTION NO. 4:05-CV-183M
TYSON FOODS, INC.,                                                    ELECTRONICALLY FILED
                    DEFENDANT.


       DEFENDANT’S REPLY MEMORANDUM IN SUPPORT OF ITS MOTION FOR
                          SUMMARY JUDGMENT

           Defendant, Tyson Foods, Inc. (“Tyson”), by counsel, submits the following

memorandum in support of it motion for summary judgment. Tyson hereby incorporates its

memorandum in support of summary judgment herein as if stated in full.

                                                    ARGUMENT1

I.         Ms. West fails to raise a genuine issue of material fact to support that she was
           subjected to supervisor harassment.

           The Sixth Circuit defines a supervisor for Tile VII purposes as “an individual who serves

in a supervisory position and exercises significant control over the plaintiff’s hiring, firing or

conditions of employment.” Summerville v. Ross/Abbott Laboratories, 1999 U.S. App. Lexis

21009, * 24 (6th Cir. 1999) (Attached as Exhibit A) (citing Pierce v. Commonwealth Life Ins.

Co., 40 F.3d 796, 803 (6th Cir. 1994)). Several other courts have similarly held that individuals

who lack the ability to hire, fire, or discipline are not supervisors under Title VII. See e.g. Velez

v. City of Chicago, 442 F.3d 1043, 1047 (7th Cir. 2006); Cheshewalla v. Rand & Son

Construction Co., 415 F.3d 847, 850-51 (8th Cir. 2005); Noviello v. City of Boston, 398 F.3d 76,



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    Ms. West waived her retaliation claims, thus Tyson did not brief that issue. See Plaintiff’s Response, p. 36, fn. 2.


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96 (1st Cir. 2005).

        Ms. West admits that George and Samuel, who are line leads, did not have the authority

to hire, fire, or discipline employees. (West Depo., p. 58; Excerpts from Ms. West’s Deposition

are attached as Exhibit B.) In fact, she testified that Mr. Parks, and Maria Robinson, the other

supervisor on De-Bone 2nd shift, would be responsible for any disciplinary actions. ( Id.) Thus,

it is clear that neither George nor Samuel are supervisors for Title VII purposes.

        Ms. West attempts rely upon the EEOC’s Guidance and the decisions of Mack v. Otis

Elevator Co., 326 F.3d 116 (2nd Cir. 2003) and Doe v. Oberweis Dairy, 456 F.3d 704 (7th Cir.

2006) to support her claim that the authority to hire, fire or discharge is not necessary for an

individual to be a supervisor under Title VII. Plaintiffs’ Response, pp. 27-29. This argument

fails. First, the EEOC Guidance is not the law. See EEOC v. Sundance Rehab. Corp., 466 F.3d

490, 500 (6th Cir. 2006). Second, Ms. West has failed to produce any evidence to support that

George or Samuel’s position as line leads “enabled or augmented” their ability to create a hostile

work environment as described in the Mack decision. Third, the Doe decision is distinguishable.

There, the court dealt with a shift supervisor who was often the sole supervisor in an ice cream

parlor, that statutorily raped of an under-age employee. Doe, 457 F.3d at 707, 717. The Court

held that where an employer grants an employee authority over other employees, it must exercise

greater care than in a case of routine coworker harassment. However, the Court admits that it is

different from the strict liability standard applied to supervisors with ultimate authority. Id. at p.

716-717. Accordingly, Ms. West’s claim for alleged supervisor harassment fails as a matter of

law.

II.     Even if the Court were to hold that Ms. West’s alleged harassers were supervisors,
        Tyson is entitled to assert the Ellerth/Faragher affirmative defense.

        The Supreme Court has held that when the alleged harassment is committed by a



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supervisor, and results in a “tangible employment action” such as discharge, demotion, or

undesirable reassignment, the affirmative defense is not available. Burlington Indus. Inc. v.

Ellerth, 524 U.S. 742, 765 (1998); Faragher v. City of Boca Raton, 524 U.S. 775, 807-08 (1998).

The only alleged tangible employment action in this case is constructive discharge.

        In Pennsylvania State Police v. Suders, 542 U.S.129, 148-49 (2004), the Supreme Court

held that unless the supervisor’s “official act,” such as demotion or a reduction in compensation

that leaves the employee no alternative other than to resign precipitates the constructive

discharge, the employer is entitled to assert the affirmative defense. Ms. West’s admission that

Tyson never changed her pay, working hours, or job duties proves that she did not suffer an

“official act,” and thus, Tyson is entitled to assert the affirmative defense.

        Ms. West attempts to create an “official” act by arguing that Mr. Parks instructed Ms.

West not to go to Human Resources, which is an official act. Plaintiff’s Response, pp. 30-31.

This attempt fails. Throughout her response, Ms. West argues that during this alleged

conversation with Mr. Parks she was “instructed” not to go to Human Resources, however, Ms.

West testified:

                  Q.   Okay. And did Mr. Stokes ever say go to HR?

                  A.   He was the one that said do you want to go to HR in front
                       of Corey and that’s when Corey said, “Well, let me fix this
                       first.” And that was his exact words. Implying that he
                       didn’t want me to go.

(West Depo., pp. 72-73, emphasis added.) Ms. West has now turned Mr. Parks’ alleged “let me

fix this first” into Mr. Parks instructed her not to go to Human Resources. Ms. West’s argument

is further refuted by her admission that she would have never gone to Human Resources because

she did not know them, and her admission that the day before she left Tyson she was told in

sexual harassment training that an employee could report to Human Resources if they did not



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feel they were getting the desired results from their supervisor. (Id. at pp. 89, 101.)

        Ms. West attempts to argue that Mr. Park’s failure to report her alleged complaints to

Human Resources constitutes an official act in that it is similar to the supervisors failure to

forward the plaintiff’s exam in Suders. See Plaintiff’s Response, p. 31. Ms. West

mischaracterizes the Court. In Suders, the Court held that “facts surrounding” the exam were

“less unofficial,” which included the supervisors setting up the plaintiff to be arrested when she

tried to put the exams back in the drawer where she discovered them. 542 U.S. at 135-136.

        A.         Ms. West fails to raise a genuine issue of material fact to support that the
                   alleged conduct that occurred during her first three weeks on the floor
                   constitutes actionable harassment.

        Ms. West admits that with the exception of the events involving George, none of the

alleged conduct consisted of physical touching or requests for sex or sexual favors. (West Depo.,

p. 51.) In fact, Ms. West admitted that she “didn’t take it that seriously the first week,” and did

not report the alleged sexual comments to her supervisor or Human Resources. (Id. at pp. 48-

49.) In describing the conduct that occurred during the second week, as well as the third week

leading up to the alleged incident with George, Ms. West describes it as “the same as the first

week.” (Id. at pp. 50, 64.) Thus, presumably, Ms. West did not “take it that seriously” during

the second and third weeks either, as she failed to make any complaints until the alleged incident

with George. The law is clear that where the alleged victim does not consider the conduct to be

serious, there is no sexual harassment. See Highlander v. K.F.C. Nat’l Management, 805 F.2d

644, 650 (6th Cir. 1986) (no hostile work environment where employee “didn’t think it was that

big of a deal”).

        As for the alleged incident with George, assuming for purposes of this motion that the

allegations regarding the incident and Ms. West’s subsequent report to Mr. Parks are true, the

evidence is undisputed that Mr. Parks moved Ms. West to an outside line so that he could


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periodically observe Ms. West. (Parks Depo., p. 23; Excerpts from Mr. Parks’ Deposition are

attached as Exhibit C.) Ms. West admits that she believed that Mr. Parks moved her so that she

would not have to work around George, and admits that George never bothered her again.

(West Depo., pp. 68-69.) See Fleenor v. Hewitt Soap Co., 81 F.3d 48, 51 (6th Cir. 1996) (where

corrective action ends the harassment, employer is not liable). Further, Ms. West admits that she

never reported any other alleged sexual harassment to Mr. Parks. (West Depo., p. 90.) Clearly

the alleged conduct does not constitute severe and pervasive conduct and, therefore is not

actionable.

        Ms. West argues that the “totality of the circumstances” standard precludes the Court

from accepting Tyson’s “compartmentalized” analysis of Ms. West’s allegations. See Plaintiff’s

Response, pp. 17-18. However, this case is unique in that there is no question that subsequent to

Ms. West’s alleged complaints during her third week on processing floor, she allegedly suffered

much graver and more serious incidents of sexual harassment which she failed to report pursuant

to Tyson’s harassment policy during her employment. Thus, the Court should adopt Tyson’s

approach of analyzing the harassment as the alleged conduct which occurred prior to her alleged

report, and the alleged conduct that occurred afterwards, which she failed to properly report

during her employment.

        B.       Ms. West fails to raise a genuine issue of material fact to refute that Tyson
                 has a suitable anti-harassment policy and complaint procedure.

        Tyson’s has a harassment policy that details both the conduct which is prohibited, and

specifies the procedure for lodging complaints for alleged violations of the policy. See Exhibit

D. This policy is provided to all employees. Tyson’s policy provides that the employee “at any

point can contact Tell Tyson First Line at (800) 643-3410 x-7313 and/or report to any of the

following individuals if the Team Member feels more comfortable skipping one or more of the



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steps.” Id. (emphasis in original).   The policy lists nine different company officials who may

be contacted, and provides the employee with the telephone numbers for the Employment

Compliance Department and the Tell Tyson First Line for reporting harassment and/or

discrimination. Id. Finally, the policy identifies the name and telephone numbers for six

individuals who are identified as harassment investigators who may also be contacted to report

harassment and/or discrimination. Id. Ms. West was trained on this policy twice, approximately

four hours of training on sexual harassment during her orientation at Tyson, and again on

February 9, 2005, the day before she abandoned her employment. (West Depo., pp. 32, 99-100;

see Exhibits D and E.)

        Ms. West, citing Clark v. UPS, argues that Tyson’s fails to establish this prong of the

defense because Tyson failed to prevent and correct the alleged harassment. See Plaintiff’s

Response, pp. 29-30. However, Clark is distinguishable. In Clark, the plaintiff was able to cite

to several instances where her supervisors actually witnessed the alleged harassment and did

nothing despite her complaints. Clark, 400 F.3d at 344-47. Here, the evidence is undisputed that

Ms. West has not been unable to identify a single witness to any of the alleged acts of sexual

harassment. Further, the only alleged report pursuant to Tyson’s policy made by Ms. West was

her alleged report to Mr. Parks during her third week working on the processing floor. As a

result, Mr. Parks moved her to a different position where he could keep an eye on her, and after

he did so, George never bothered her again, and she never complained to Mr. Parks again.

        Ms. West tries to assert that her complaints to Mr. Stokes constitute a report under

Tyson’s policy because he was a “supervisor.” This claim is without merit. Ms. West attempts

to argue that trainers are supervisors based on Ms. Rackard’s testimony that they were someone

who Ms. West could look to in supervisory capacity. See Plaintiff’s Response, pp.26-27.




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However, Ms. Rackard further testified that trainers do not have the ability to hire or fire

employees. (See Rackard Depo., pp. 88-89; Excerpts from Ms. Rackard’s Deposition are

attached as Exhibit F.) In fact, any discipline or performance problems would be handled by the

supervisors. (Id. at p. 94.) Ms. Rackard further testified that trainers were responsible for

showing newly hired employees how to cut and de-bone the chickens. (Id. at pp. 97-98.) This

testimony is consistent with Mr. Stokes’s deposition testimony that occurred months before. Mr.

Stokes testified that as a trainer, he did not have any type of supervisory authority. (Stokes

Depo., pp. 3-4; Excerpts from Mr. Stokes’ Deposition are attached as Exhibit G.)2 Thus, Mr.

Stokes clearly was not Ms. West’s supervisor.

         Further, Ms. West makes the leap from asking Ms. Rackard whether trainers were

someone who could be looked to in a supervisory capacity, to arguing here that trainers are

someone that Ms. West could report sexual harassment to under Tyson’s policy. See Plaintiff’s

Response, p. 26. Ms. West fails to cite to Ms. Rackard’s deposition for this proposition because

she was never asked that question.

         Furthermore, to determine who Ms. West considered to be her supervisor for purposes of

reporting alleged sexual harassment, the Court need only look at Ms. West’s own testimony.

When asked who her supervisors were, Ms. West testified, “Corey Parks and Maria Robinson.”

(West Depo., p. 18.) When questioned about why she did not report the alleged harassment to

the Human Resources Manager, Ms. West testified, “Because it said and/or which means you

could speak to either one and I chose Corey.” (Id. at p. 76.)

         Additionally, Ms. West argues that her alleged reference to Samuel being very persistent

was because Samuel allegedly sexually assaulted her the following week. Ms. West’s unspecific


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 Mr. Stokes also testified that trainers did not even have the authority to move employees from one position to
another in the De-Bone Department. (Id. at pp. 5-6.)


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complaint regarding Samuel the week before, however, did not relieve Ms. West of her duty to

report Samuel’s alleged assault.

         Finally, Ms. West argues that Mr. Guizar failed to take any action regarding her alleged

complaints on February 18, 2005.3 See Plaintiff’s Response, pp. 26-27. However, it is

undisputed that Ms. West’s alleged complaints to Mr. Guizar came more than a week after Ms.

West abandoned her job. Ms. West has failed to cite any authority to support that Tyson has a

duty to correct alleged sexual harassment that she failed to report until after her employment

with Tyson ended.

         Tyson has established that it has a sufficient policy in place to prevent and correct sexual

harassment. Thus, Tyson has satisfied the first prong of the Ellerth/Faragher affirmative

defense.

         C.       Ms. West cannot raise a genuine issue of material fact to refute that she
                  unreasonably failed to take advantage of Tyson’s preventative and
                  corrective opportunities.

         The evidence shows that Ms. West unreasonably failed to take advantage of the

preventative and corrective procedures provide by Tyson in its harassment policy. Ms. West

admittedly never complained to Mr. Parks, Human Resources, or anyone identified in Tyson’s

harassment policy. (West Depo., pp. 86-87, 99.) Ms. West admits that during the sexual

harassment training she received during orientation, and the additional training she received on

February 9, 2005, she was informed that she should report any sexual harassment to Human

Resources, and that she could report to Human Resources if she did not feel that she was getting

the desired results form her complaint to her supervisor. (Id. at pp. 30, 101.) It is undisputed that


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  Ms. West has filed a motion for an adverse inference regarding the details of her alleged complaints during the exit
interview with Mr. Guizar based on the fact that Tyson cannot find the exit interview form. While Tyson
vehemently denies that Ms. West is entitled to an adverse inference, the issue is irrelevant here as all allegations by
Ms. West must be taken as true for purposes of this motion.


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Ms. West never went to Human Resources regarding any alleged sexual harassment during her

employment. Further, even upon being informed by her coworker, Andrea Boykin, that she

should speak with Ms. Boykin’s husband in Human Resources about the alleged harassment, Ms.

West declined to do so. (Id. at p. 88.) In fact, Ms. West admits that she would have never gone

to Human Resources to report the alleged sexual harassment under any circumstance because she

did not know any of the people in Human Resources. (Id. at p. 89.) Clearly, Ms. West

unreasonably failed to take advantage of the preventative and corrective opportunities provided

by Tyson, and thus, her claim fails as a matter of law.

III.    Ms. West fails to raise a genuine issue of material fact regarding alleged
        harassment, whether supervisor or coworker, because she unreasonably failed o
        take advantage of Tyson’s preventative and corrective procedures.

        The plaintiff argues that Tyson failed to address the coworker standard for sexual

harassment in its motion for summary judgment. See Plaintiff’s Response, p. 25. However, the

same affirmative defense that applies in cases of alleged supervisor sexual harassment also

applies in coworker sexual harassment cases. See Good v. MMR Group, Inc., 2001 U.S. Dist.

Lexis 20036, *13 (W.D. Ky. 2001) (“The policy goals of Title VII which undergird the

Burlington Industries’ affirmative defense apply equally to both types of claims, and this Court

holds the defense is available to employers in both contexts.”) (Attached as Exhibit H). Thus, the

same arguments Tyson makes regarding Ms. West’s unreasonable failure to take advantage of

Tyson’s corrective policies and procedures for alleged supervisor harassment apply equally to

claims related to alleged coworker harassment.

        Further, even under the “knew or should have known” standard, Ms. West’s claim for

coworker harassment fails as a matter of law. The undisputed evidence shows that subsequent to

Ms. West’s alleged complaint to Mr. Parks, she never complained to Mr. Parks or anyone else in

management regarding alleged sexual harassment during her employment. Accordingly, Ms.


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West fails to raise a genuine issue of material fact to support a claim for coworker sexual

harassment.

IV.     Ms. West fails to raise a genuine issue of fact regarding constructive discharge.

        The Sixth Circuit has made it clear that the standard for constructive discharge requires a

showing that: (1) Tyson deliberately created intolerable working conditions as perceived by a

reasonable person, and (2) Tyson did so with the intention of forcing the employee to quit. See

Saroli v. Automation & Modular Components, Inc., 405 F.3d 446, 451 (6th Cir. 2005); Logan v.

Denny’s, Inc., 259 F.3d 558, 568-69 (6th Cir. 2001); Jones v. Miller Pipeline Corp., 2005 U.S.

Dist Lexis 21216, *9-*12 (W.D. Ky. 2005) (Attached as Exhibit I.). Ms. West admitted that she

did not feel that Tyson was intentionally trying to get her to quit her job. (West Depo., p. 118.)

        Ms. West alleges that her answer was taken out of context. See Plaintiff’s Response, pp.

31-36. This argument lacks merit. A review of the record shows that the question was clear and

unequivocal, and Ms . West’s answer was clear and unequivocal. This is evidenced by the fact

that Ms. West’s counsel never objected. (West Depo., p. 118.) Thus, Ms. West’s “context”

argument fails.

        Further, Ms. West fails to produce any evidence that Tyson was intentionally trying to get

her to quit her job. Ms. West argues that Mr. Guizar’s failure to tell her she did not have to quit

her job during the exit interview is evidence of Tyson’s intent that she quit her job. See

Plaintiff’s Response, pp. 35-36. This argument also fails. It is important to note that when the

exit interview was conducted, Ms. West had already been terminated for job abandonment! How

could Tyson intend to force her to quit when she had already been terminated?

                                         CONCLUSION

        Based on the foregoing, Tyson is entitled to summary judgment as a matter law on all

claims asserted by Ms. West and, therefore, her claims should be dismissed with prejudice.


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                                CERTIFICATE OF SERVICE

       On September 26, 2007, I electronically filed the above pleading through the ECF
system, which will send a notice of electronic filing to the following:


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